                            Case 12-32293-JKO           Doc 39    Filed 08/21/13    Page 1 of 4

.2
tems Inc.
                                             UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                FORT LAUDERDALE DIVISION

        In re:                                              §
                                                            §
        PIERRE, LOUISE BONNE                                §      Case No. 12-32293 JKO
                                                            §
                            Debtor(s)                       §

                                             NOTICE OF TRUSTEE’S FINAL REPORT AND
                                               APPLICATIONS FOR COMPENSATION
                                                 AND DEADLINE TO OBJECT (NFR)

                Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Scott N. Brown,
        Trustee, trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s
        professionals have filed final fee applications, which are summarized in the attached Summary of
        Trustee's Final Report and Applications for Compensation.

                The complete Final Report and all applications for compensation are available for inspection at
        the Office of the Clerk, at the following address:
                                                CLERK OF THE COURT
                                                SOUTHERN DISTRICT OF FLORIDA
                                                51 SW FIRST AVE., 15TH FLOOR
                                                MIAMI, FL 33130

                Any person wishing to object to any fee application that has not already been approved or
        to the Final Report, must file a written objection within 21 days from the mailing of this notice,
        together with a request for a hearing and serve a copy of both upon the trustee, any party whose
        application is being challenged and the United States Trustee. If no objections are filed, the Court
        will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009 without
        further order of the Court.

        Date Mailed: 08/21/2013                                  By: /s/ Scott N. Brown
                                                                                       Trustee


        Scott N. Brown, Trustee
        14 N.E. 1st Ave - Penthouse
        Miami, FL 33132




   UST Form 101-7-NFR (5/1/2011) (Page: 1)
                             Case 12-32293-JKO                      Doc 39          Filed 08/21/13               Page 2 of 4



                                              UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF FLORIDA
                                                 FORT LAUDERDALE DIVISION


      In re:                                                                §
                                                                            §
      PIERRE, LOUISE BONNE                                                  §         Case No. 12-32293 JKO
                                                                            §
                             Debtor(s)                                      §

                                             SUMMARY OF TRUSTEE'S FINAL REPORT
                                             AND APPLICATIONS FOR COMPENSATION


                   The Final Report shows receipts of                                                                 $                       6,311.00
                   and approved disbursements of                                                                      $                       1,908.30
                                                            1
                   leaving a balance on hand of                                                                       $                       4,402.70


                 Claims of secured creditors will be paid as follows:


                                                                                 NONE


                 Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                                                     Interim Payment             Proposed
                            Reason/Applicant                             Total Requested             to Date                     Payment
       Trustee Fees: Scott N. Brown, Trustee                            $             1,104.43 $                          0.00 $              1,104.43
       Trustee Expenses: Scott N. Brown, Trustee                        $                 14.46 $                         0.00 $                    14.46
                   Total to be paid for chapter 7 administrative expenses                                             $                       1,118.89
                   Remaining Balance                                                                                  $                       3,283.81


                 Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                                                 NONE



____________________
           1
              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

UST Form 101-7-NFR (5/1/2011) (Page: 2)
                         Case 12-32293-JKO          Doc 39     Filed 08/21/13     Page 3 of 4


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 21,739.71 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 15.1 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                  Allowed Amount         Interim Payment to
     Claim No.          Claimant                  of Claim               Date               Proposed Payment
                        Capital One Bank
     000001             (USA), N.A.             $          15,597.89 $               0.00 $            2,356.08
                        Portfolio Recovery
     000002             Associates, LLC         $            6,141.82 $              0.00 $              927.73
                Total to be paid to timely general unsecured creditors                $                3,283.81
                Remaining Balance                                                     $                     0.00


             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE


            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:




UST Form 101-7-NFR (5/1/2011) (Page: 3)
                         Case 12-32293-JKO       Doc 39     Filed 08/21/13       Page 4 of 4




                                                          NONE


                                            Prepared By: /s/ Scott N. Brown
                                                                                   Trustee


     Scott N. Brown, Trustee
     14 N.E. 1st Ave - Penthouse
     Miami, FL 33132


     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-NFR (5/1/2011) (Page: 4)
